                                                                                      FILED
                                                                                    July 27, 2022
                         IN THE UNITED STATES DISTRICT COURT                    CLERK, U.S. DISTRICT COURT
                                                                                WESTERN DISTRICT OF TEXAS
                          FOR THE WESTERN DISTRICT OF TEXAS
                               MIDLAND/ODESSA DIVISION                                       J.B.
                                                                            BY: ________________________________
                                                                                                    DEPUTY

 UNITED STATES OF AMERICA

        Plaintiff
                                                    INDICTMENT        7:22-cr-00154
 v

 (1) RAYMUND CHARLES JR                             COUNT 1: 18 U.S.C. § 922(g)(1) -
                                                    Possession of a Firearm by a Convicted
        Defendant                                   Felon


THE GRAND JURY CHARGES:

                                        COUNT ONE
                            [18 U.S.C. §§ 922(g)(1) and 924(a)(2)]

       On or about July 1, 2022, in the Western District of Texas, Defendant,

                                 (1) RAYMUND CHARLES JR,

knowing that he had been convicted of a crime punishable by imprisonment for a term exceeding

one year, did knowingly possess a firearm, to wit: Ruger P90 .45 caliber semi-automatic handgun,

said firearm having been shipped and transported in interstate commerce; in violation of Title 18,

United States Code, Sections 922(g)(1) and 924(a)(2).

                                                     A TRUE BILL



                                                     FOREPERSON

ASHLEY C. HOFF
United States Attorney

By: ____________________________
    Monica L. Daniels
    Assistant United States Attorney




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